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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                       Case No.:1:07cr18-SPM

BROOKE ERIN THOMSON,

           Defendant.
_____________________________/

           ORDER GRANTING MOTION TO CONTINUE SENTENCING

      This cause comes before the Court on the “Brooke Erin Thomson’s Fourth

Motion to Continue Sentencing” (doc. 219). As grounds, Defendant states that

an essential witness is unavailable on June 9, 2008. The Government has

represented to this Court that it does not oppose the granting of this motion.

      Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

      1.      The Defendant’s motion to continue (doc. 219) is hereby granted.

      2.      Sentencing is reset for Monday, July 7, 2008 at 1;30 p.m. in

              Gainesville, Florida.

      DONE AND ORDERED this fifth day of June, 2008.




                                        s/ Stephan P. Mickle
                                      Stephan P. Mickle
                                      United States District Judge
